Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 1 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 2 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 3 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 4 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 5 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 6 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 7 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 8 of 22
Case 19-80103-CRJ7   Doc 22    Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document     Page 9 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 10 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 11 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 12 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 13 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 14 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 15 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 16 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 17 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 18 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 19 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 20 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 21 of 22
Case 19-80103-CRJ7   Doc 22     Filed 03/07/19 Entered 03/07/19 14:12:50   Desc Main
                              Document      Page 22 of 22
